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 1   M. BRADLEY WISHEK (SBN 121875)
     ROTHSCHILD WISHEK & SANDS LLP
 2   901 F STREET, SUITE 200
     Sacramento, CA 95814
 3   Telephone: (916) 444-9845
     FACSIMILE: (916) 444-2768
 4
     Attorneys for Defendant,
 5   THOMAS LU
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                   Case No.: 2:12 CR-0207 LKK
10                Plaintiff,
                                                 STIPULATION AND ORDER
11        vs.                                    CONTINUING STATUS CONFERENCE
12   THOMAS LU,                                  Date:   March 19, 2013
                                                 Time:   9:15 a.m.
13              Defendant.                       Ctrm:   4 (LKK)
14
15        The United States of America, through its counsel Assistant

16   U. S. Attorneys William Wong and Michael Anderson, and defendant

17   Thomas Lu, through his counsel M. Bradley Wishek, stipulate that

18   the status conference regarding the imposition of judgment and

19   sentence upon Mr. Lu now scheduled for 9:15 a.m. on March 19,

20   2013, may be continued to August 27, 2013, at 9:15 a.m.

21        A continuance of the status conference is necessary

22   because, while Mr. Lu’s case has been resolved by way of a

23   guilty plea, the charges against some other defendants in the

24   case are still pending and information pertaining to the

25   resolution of the charges against those defendants may be

26   helpful to the Court in fashioning a sentence for Mr. Lu.

27   Therefore, the parties request that the status conference

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                     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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 1   regarding the imposition of judgment and sentence pertaining to
 2   Mr. Lu be continued to August 27, 2013, at 9:15 a.m.
 3        IT IS SO STIPULATED.
 4
 5                                             //s//M. Bradley Wishek for
     DATED:   March 15, 2013           By:          William Wong_________
 6                                                William Wong
 7                                                Assistant U.S. Attorney

 8   DATED:   March 15, 2013           By: _//s// M. Bradley Wishek___
                                               M. BRADLEY WISHEK,
 9                                             ROTHSCHILD WISHEK & SANDS
10                                             LLP, Attorneys for
                                               Defendant Thomas Lu
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                   STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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 1                                       ORDER
 2           Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the status conference regarding the
 4   imposition of judgment and sentence upon Thomas Lu now scheduled
 5   for March 19, 2013, is continued to 9:15 a.m. on August 27,
 6   2013.
 7           IT IS SO ORDERED:
 8   DATED: March 18, 2013
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                     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
